435 F.2d 693
    William PACKNETT, Petitioner-Appellant,v.UNITED STATES of America, Respondent-Appellee.
    No. 30384 Summary Calendar.**(1) Rule 18, 5th Cir. See Isbell Enterprises, Inc.v.Citizens Casualty Co. of New York et al., 5th Cir. 1970, 431
    
      F.2d 409, Part I.
      United States Court of Appeals, Fifth Circuit.
      Dec. 7, 1970.
      William Packnett, pro se.
      Gerald J. Gallinghouse, U.S. Atty., Joseph R. mcMahon, jr., Asst. U.S. Atty., New Orleans, La., for respondent-appellee.
      Before GEWIN, GOLDBERG and DYER, Circuit Judges.
      PER CURIAM:
    
    
      1
      Packnett appeals following the District Court's denial of his motion to vacate sentence under 28 U.S.C.A. 2255.  Only two of his contentions merit discussion: First, that the Youth Corrections Act, 18 U.S.C.A. 5005-5026 VIOLATES THE FIFTH AND EIGHTH AMENDMENTS; and second, that he received ineffective assistance from trial counsel.  In Guidry v. United States, 5 Cir. 1970, 433 F.2d 968, this Court recently reaffirmed its previous decision that the Youth Corrections Act is constitutional.  There is no distinction between Guidry and the instant controversy.
    
    
      2
      In regard to the alleged inadequacies of counsel, Packnett has submitted no facts which, if true, would substantiate his claim.  Williams v. Beto, 5 Cir. 1965, 354 F.2d 698, 704; see O'Neal v. Smith, 5 Cir. 1970,431 F.2d 646; United States v. Long, 5 Cir. 1969, 419 F.2d 91, 94.
    
    
      3
      The District Court's order denying Packnett's motion to vacate sentence is
    
    
      4
      Affirmed.
    
    